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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                        )
UNITED STATES OF AMERICA                )
                                        )
            v.                         )    Criminal No. 1:22-cr-199 (CJN)
                                        )
THOMAS SMITH,                           )
                                        )
                  Defendant.            )
_______________________________________)

                  GOVERNMENT’S OPPOSITION TO
  DEFENDANT’S MOTION FOR IMPOSITION OF A NON-GUIDELINE SENTENCE

        The United States of America respectfully submits the following opposition to Defendant

Thomas Smith’s motion for imposition of a non-guideline sentence (ECF No. 44). As explained

in the government’s sentencing memorandum (ECF No. 42), Smith’s reckless and unconstitutional

conduct calls for a guideline prison sentence. None of Smith’s arguments support a contrary result.

While nearly every part of Smith’s motion is objectionable, the following opposition addresses

three particularly lamentable arguments pursued by Smith that have no basis in fact or law.

   I.      The Court Should Reject Smith’s Baseless Attempt to Blame the Victim

        Smith baselessly seeks to shift blame for his reckless conduct to the victim. See ECF No.

44 at 9. This argument is wholly without merit.

        Smith grossly mischaracterizes the facts by accusing the victim of being intoxicated and

“contribut[ing] significantly to provoking the offense behavior.” Id. The evidence establishes that

only one party was likely under the influence on the evening that the offense occurred: on-duty

U.S. Capitol Police Officer Thomas Smith. The government is unaware of any objective evidence

suggesting that the victim was intoxicated at the time of the crash. The facts reveal that the victim,

while at the hospital following the collision, was provided a prescription for naloxone in tandem



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with narcotic medications to treat the pain he suffered as a result of being hit by a police cruiser.

Any allegation by Smith that the prescription for naloxone suggests that it was administered

because the victim was intoxicated is preposterous.

       Even if Smith’s claims were true, they would not support the application of U.S.S.G.

§5K2.10.    Smith notes that this provision applies only “if the victim’s wrongful conduct

contributed significantly to provoking the offense behavior.” U.S.S.G. §5K2.10. But Smith makes

no reference to the explicit factors listed in §5K2.10 to determine if the provision is applicable.

These include, among other things: “any efforts by the defendant to prevent confrontation;” “the

danger reasonably perceived by the defendant;” “the danger actually presented to the defendant by

the victim;” and “the proportionality and reasonableness of the defendant’s response to the victim’s

provocation.” Id. It is obvious why Smith does not reference these factors. They plainly cut

against any application of this provision to Smith’s reckless conduct (even if Smith’s baseless

claims were true).

       Finally, as Smith highlights in his sentencing memorandum, Smith was trained in the

proper law enforcement techniques for responding to traffic infractions, including conducting

traffic stops of individuals who were potentially operating under the influence. Even if Smith

believed that the victim was intoxicated (which he was not), Smith was well-versed in the proper

techniques for notifying the Metropolitan Police Department (MPD), engaging in a proper (i.e.,

not reckless) pursuit, and executing a lawful traffic stop to further investigate whether W.W. was

operating under the influence. Instead, Smith—who himself was likely under the influence at the

time—violated the Constitution, ignored his duties, and disregarded his training by hitting W.W.

with his police cruiser at a high rate of speed and then fleeing the scene without rendering aid.

Attempts to shift blame for that conduct to the victim should not be entertained.



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   II.      The Court Should Reject Smith’s Baseless Attempt to Ignore His Own Criminal
            Conduct

         Smith seeks a downward departure from his accurate Criminal History Score of II. Taken

as a whole, Smith’s argument on this front basically amounts to: if something totally different had

happened, then a different result would be justified. But based on Smith’s actual conduct, his

criminal history score aptly reflects his personal history and the danger to society that he presently

poses.

         Smith’s request is rooted in U.S.S.G. §4A1.3. That provision allows for a downward

departure only “if reliable information indicates that the defendant’s criminal history category

substantially over-represents the seriousness of the defendant’s criminal history or the likelihood

that the defendant will commit other crimes.”          U.S.S.G. §4A1.3(b)(1) (emphasis added).

Notably—and perhaps indicative of the rarity with which this provision is meant to be applied—

the guidelines mandate that a court applying the departure “specify in writing…the specific reasons

why” the demanding standard is met. See U.S.S.G. §4A1.3(c)(2).

         Smith’s conduct in Maryland unambiguously supports his Criminal History Score of II.

Smith’s contrary argument seems to rely entirely on the claim that he “received a[n] unusually

high sentence in the Maryland misdemeanor case.” See ECF No. 44 at 4. But this argument

ignores Smith’s offense conduct in Maryland, the Maryland court’s findings, and the demanding

standard set out in §4A1.3.

         Smith shot his neighbor’s dog and then seemingly lied about it. He was prosecuted in

Maryland for doing so. He was convicted at trial. He was then sentenced for his conduct. On

January 18, 2024, the government obtained a recording of Smith’s sentencing hearing in Maryland.

The government has provided a copy of that recording to defense counsel. Though there is

insufficient time to create a transcript of the hearing for the Court’s convenience, the hearing is

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illuminating, and the government will provide the Court with a copy of the recording if it would

like.

        Smith’s state trial and sentencing was overseen by Associate Judge Richard Titus of the

Carroll County Circuit Court. Prior to sentencing, Judge Titus reviewed and took judicial notice

of Smith’s guilty plea and statement of offense in this federal case. As is being done here, during

his state court sentencing Smith tried to explain away his reckless conduct in Maryland by

emphasizing his alcoholism. Judge Titus noted many similarities in Smith’s conduct underlying

his federal and state offenses, and Smith’s attempts to downplay his culpability in both forums.

For example, Judge Titus stated:1

        “…Your chasing someone, hit him, and just drive away… in that [federal] case, the
        biggest thing I took away from the case that you are facing a judge next month for
        is, again, someone who is going to blame what’s occurring on alcohol or substance
        abuse issues is not going to have the wherewithal to sit there and take off and go
        back to the motor-pool to try to falsify records to say it wasn’t me driving. . .”

        “…You are somebody based on your training and experience know better, number
        1. But, number 2, I think you think that you are smarter and that you’re going to
        get away with it and somehow make the court conclude that this is all brought on
        by either childhood trauma, by alcohol, or something else, and I just don’t accept
        it. . .”

        “…I am sympathetic to what you have put your family through as far as drinking.
        [In reference to shooting the dog:] I don’t accept that drinking is what caused this
        to occur. My concern about you is that you are in a situation where you think that
        you are above the law, that it doesn’t apply to you, or you can get away with things.
        . .”

        Judge Titus then went on to note how the fact that Smith shot his neighbor’s dog made his

Maryland case far worse than the standard malicious destruction of property cases he sees in state

court for things like breaking an inanimate object. In applying an 18-month sentence, Judge Titus




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  The quotes represent the government’s best attempts to transcribe the Maryland sentencing hearing
recording. They are not official or certified transcripts.

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noted that: “This is not a probation case. From my perspective, there is a danger to the public…I

do not accept that it’s because of alcohol.”

       Judge Titus could not have been any clearer. Smith’s 18-month sentence in Maryland

reflects serious and dangerous criminal conduct that is separate and apart from his federal offense

(which also reflects recklessly dangerous conduct and contempt for the rule of law). His Criminal

History Score of II appropriately captures reality. There is no factual or legal basis to depart

downward from it.

       As noted in Smith’s motion, there remains a question of whether Smith’s federal sentence

will run concurrent or consecutive to his state sentence. In its sentencing memorandum, the

government explained why the sentences should run consecutive. See ECF No. 42 at 17-21. The

recently obtained recording from Carroll County further supports the conclusion that this decision

will be left to this Court’s discretion, and it cannot be bound by the Maryland matter one way or

another.

       Towards the end of the state hearing, Judge Titus said:

       “To the extent I don’t know the interplay between federal and state. I am not going
       [to] try and suggest that this has to be served consecutively. It can be concurrent
       with any federal sentence. That’s my intention in this matter.”

       But this statement was made after Judge Titus repeatedly went out of his way to clarify his

understanding that any such decision would be up to the sound discretion of the federal sentencing

judge. Judge Titus stated:

       “. . .You’re going to be dealing with your own issues in the federal system as well.
       That’s for my colleague in DC to decide, not me. . .”

       “. . .Whatever sentence the judge in federal court in DC chooses to impose, that’s
       up to him. . .”




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   III.      Police Officer’s Who Violate the Constitution and Criminal Laws are Not Entitled
             to Special Treatment

          Smith also argues that a downward departure is warranted because his history as a former

law enforcement officer makes him susceptible to abuse in prison. See ECF No. 44 at 7-8. Smith’s

argument is a common one asserted by law enforcement officers convicted of civil rights offenses,

and courts throughout the country have rejected this argument. See, e.g., United States v. Rok, 71

Fed.A’ppx 150 (3d Cir. 2003) (Defendant police officer not entitled to downward departure

because he was a police officer and therefore more susceptible to abuse in prison); United States

v. Winters, 174 F.3d 478, 486 (5th Cir. 1999) (“To allow a departure on the basis that [the

defendant] is a law enforcement officer would thwart the purpose and intent of the guidelines.”);

United States v. Colbert, 172 F.3d 594, 597-98 (8th Cir. 1999) (upholding district court’s refusal

to depart downward because defendant was a police officer); see also United States v. George, No.

19-4841, 2021 WL 5505404 (4th Cir. Nov. 24, 2021) (unpublished per curiam opinion holding a

probationary sentence for police officer convicted of Section 242 was procedurally and

substantively unreasonable).

          Smith’s situation is consistent with those cases where courts have refused to depart or vary

because of a defendant law enforcement officer’s claim of susceptibility to abuse in prison. In

fact, the Sentencing Commission surely considered the possibility that some defendants convicted

of violating Section 242 would be law enforcement officers, and the Commission applied greater,

not lesser, sentences for such crimes. See U.S.S.G. §2H1.1(b) (applying a six-level increase if a

civil rights offense was “committed under color of law”).

   IV.       Conclusion

          The government strenuously opposes Smith’s motion for an imposition of a non-guideline

sentence in this matter. The conduct at issue is serious. Smith, and no one else, is to blame for his

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actions. His criminal history appropriately reflects a pattern of violent recklessness and points to

a sense that Smith believes he is above the law. A guideline prison sentence is appropriate. The

Defendant’s motion should be denied.


                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY
                                              DISTRICT OF COLUMBIA

                                              /s/ Timothy Visser
                                              TIMOTHY VISSER
                                              Bar No. 1028375 (DC)
                                              Assistant United States Attorney
                                              U.S. Attorney’s Office for the District of Columbia
                                              Fraud, Public Corruption, and Civil Rights Section
                                              601 D. Street, NW
                                              Washington, D.C. 20530
                                              Phone No: (202) 815-2358
                                              Email: Timothy.Visser@usdoj.gov



                                              KRISTEN CLARK
                                              ASSISTANT ATTORNEY GENERAL
                                              CIVIL RIGHTS DIVISION

                                              /s/ Sanjay Patel
                                              SANJAY PATEL
                                              Bar No. 6272840 (IL)
                                              Trial Attorney
                                              Criminal Section – Civil Rights Division
                                              U.S. Department of Justice
                                              4 Constitution Square
                                              150 M Street, NE – 7.121
                                              Washington, D.C. 20530
                                              Phone No: (202) 307-6188
                                              Email: Sanjay.Patel@usdoj.gov




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